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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                            EASTERN DIVISION

 BOND PHARMACY INC., d/b/a AIS
 HEALTHCARE,                              Case No. 2:23-mc-51368-LVP-DRG

               Plaintiff,                 District Judge: Hon. Linda V. Parker
                                          Magistrate Judge: Hon. David Grand
 vs.
                                          DECLARATION OF
 ANTHEM HEALTH PLANS OF                   CLINTON MIKEL
 VIRGINIA, INC. d/b/a ANTHEM
 BLUE CROSS AND BLUE SHIELD,
                                     (E.D. Va. Case No. 1:22-cv-01343-
             Defendants.             CMH-IDD) (Hon. Claude M. Hilton)
 __________________________________________________________________/

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   & HAMPTON LLP                        P.C.
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                     DECLARATION OF CLINTON MIKEL

       I, Clinton Mikel, do hereby declare the following to be true and correct to

 the best of my knowledge, information and belief.

       1.     I am a resident of Michigan. I am over the age of eighteen and am

 competent to provide this Declaration.

       2.     I am licensed to practice law in the State of Michigan and appear

 before this Court. I am a partner at The Health Partners, P.C.

       3.     Upon receipt of the Subpoena, (EXHIBIT 1 below), I worked

 diligently and tirelessly with Plaintiff, AIS, regarding search parameters,

 deposition parameters, and to provide responsive documents.

       4.     Orally, counsel for AIS represented to me that if an HLP

 representative were to sit for a deposition that AIS would not inquire about, and

 had no interest, in HLP’s client(s) name(s), or other privileged matters.

       5.     Based on this explicit oral representation made by AIS’s counsel, that

 no inquiry would be made regarding the identity of HLP’s client, HLP agreed to

 and promptly produced Robert Dindoffer, Esq., to sit for a September 1, 2023

 deposition without filing a Motion to Quash/seeking a Protective Order.

       6.     On behalf of HLP, I promptly and fully provided all relevant, non-

 privileged information, finalizing our production on August 21, 2023.

       7.     11 days lapsed with AIS having the entirety of HLP’s document

 production. AIS raised no issues regarding the document production.
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       8.     At the September 1, 2023, deposition it became clear, near the outset

 that counsel for AIS had mislead HLP’s counsel and was not honoring their oral

 representations/promises . AIS did the polar opposite of what they represented –

 the entire purpose of the deposition was to seek privileged, non-relevant,

 information – the name of HLP’s third-party client.

       9.     Blindsided by AIS’s misrepresentations, during the deposition I, as

 HLP’s counsel, raised various valid attorney-client privilege objections and

 instructed the HLP witness to refuse to answer on FRCP 30(c)(2) bases (“A person

 may instruct a deponent not to answer only when necessary to preserve a

 privilege…”).

       10.    HLP and Mr. Dindoffer are in the process of retaining outside counsel

 to address Plaintiff’s motion in chief, which seeks to invade the attorney-client

 privilege of a non-party to Plaintiff’s case.

       11.    Attached to this declaration are the following exhibits, of which I have

 personal knowledge.

       a. EXHIBIT 1 – Subpoena issued by Plaintiff in E.D. Va. Case No. 1:22-
          cv-01343-CMH-IDD) (Hon. Claude M. Hilton)

       b. EXHIBIT 2 – Order of Hon. Claude M. Hilton, Dated July 17, 2023,
          showing end of fact discovery as September 12, 2023.

       c. EXHIBIT 3 – Joint Motion, Dated June 28, 2023, for extension of
          deadlines.

       d. EXHIBIT 4 – Plaintiff’s motion to Extend Fact Discovery, dated
          September 11, 2023 (Exhibits Omitted).
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       e. EXHIBIT 5 – Docket in E.D. Va. Case No. 1:22-cv-01343-CMH-IDD)
          (Hon. Claude M. Hilton), as of September 12, 2023.

       In accordance with 28 U.S.C. Section 1746, I declare under penalty of
 perjury that the forgoing is true and correct.

 /s/Clinton Mikel                                     September 12, 2023

 __________________________                           _______________
 Name: Clinton Mikel                                        Date
                           CERTIFICATE OF SERVICE

        I certify that on September 12 , 2023, I electronically filed the foregoing with
 the Clerk of the Court by using the CM/ECF system which will send email notification
 of electronic filing to counsel for all parties of record.

                                               s/Clinton Mikel
                                               Clinton Mikel
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                                               Attorney for Non-Parties
                                               The Health Law Partners, P.C.
                                               and Robert Dindoffer, Esq.
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